             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                                      SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                         Plaintiff,                 )
                                                    )
       vs.                                          )       No. 07-03106-06-CR-S-ODS
                                                    )
CORY S. CLINES,                                     )
                                                    )
                         Defendant.                 )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

there has been no timely objection, the plea of guilty of the Defendant to Counts One and Six and

admitted to the forfeiture allegations of the Indictment filed on August 31, 2007, is now Accepted

and the Defendant is Adjudged Guilty of such offenses. Sentencing will be set by subsequent Order

of the Court.




                                                        /s/ Ortrie D. Smith
                                                            ORTRIE D.S MITH
                                                    UNITED STATES DISTRICT JUDGE




Date: February 15, 2008




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